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                     is. Why is the Bankruptcy Court holding a Confirmation Hearing?
 2
               Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a                                         i.
 3      hearing on Confirmation of the Plan. Section 1128(b) of the Bankruptcy Code provides that
        any part in interest may object to Confirmation of                         the Plan.
 4

 5                   16.         When is the Confirmation Hearing set to occur?

 6                   The Bankruptcy Court has scheduled the Confirmation Hearing for (January SH),
        2010 to take place at (9:00 a.m.) (prevailing Pacific Time) before the Honorable Linda B.
 7      Riegle, United States Bankruptcy Judge, in the United States Bankruptcy Court for the
 8
        District of Nevada, located at 300 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
        The Confirmation Hearing may be continued from time to time by announcing such
 9      continuance in open court or otherwise, without further notice to parties in interest. The
        Bankruptcy Court, in its discretion and prior to the Confirmation Hearing, may put in place
10      additional procedures governing the Confirmation Hearing. The Plan may be modified, if
1 1
        necessary, prior to, during, or as a result of the Confirmation Hearing, without further notice
        to interested parties.

12
                     Objections to Confirmation of the Plan must be fied and served on the First Lien
13      Steering Committee, and certain other parties, by no later than (Deeember 18.January 4),
        io2010 at (4:00 p.m.) (prevailing Pacific Time). Any objections to the Plan must be (i) in
14
        writing, (ii) conform to the Bankruptcy Rules and the Local Rules, (iii) state the name and
15      address of         the objecting party and the amount and nature of                    the Claim of such Entity, (iv) state
        with particularity the basis and nature of any objection to the Plan and, if practicable, a
16      proposed modification to the Plan that would resolve such objection, (v) and be actually
        received by no later than (Deeember 18.January 4:), iø2i at 4:00 P.M.
17

18
                     n.          What is the purpose of the Confirmation Hearing?

19            The consummation of a chapter 11 plan is the principal objective of a chapter 11 case.
        A chapter 11 plan sets forth the means for satisfying claims against, and interests in, a debtor.
20      Confirmation of a chapter 11 plan by a bankruptcy court makes the plan binding upon the
        debtor, any person or entity acquiring property under the plan and any holder of claims
21
        against or interests in the debtor, whether or not such holder of claims or interests (1) is
22      impaired under or has accepted the plan or (2) receives or retains any property under the plan.
        Subject to certain limited exceptions and other than as provided in the plan itself or the
23      confirmation order, a confirmation order discharges the debtor from any debt that arose prior
        to the date of confirmation of the plan and substitutes therewith the obligations specified
24      under the confirmed plan.
25
                     18.         What role does the Bankruptcy Court play after the Confirmation
26                               Hearing?
27            After the Confirmation of the Plan and the occurrence of the Effective Date, the
        Bankruptcy Court wil retain exclusive jurisdiction over all matters arising out of, or related
28




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       to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of              the Bankruptcy
 2     Code and as otherwise set forth in the Plan.                                                                I
                                                                                                                   i


 3                19. What is the effect of the Plan on the Debtors' ongoing business?                             I



 4
                The Debtors are reorganizing pursuant to chapter 11 of the Bankruptcy Code. As a                   I

 5     result, the Confirmation of the Plan means that the Debtors will not be liquidated or forced to
       go out of business. As a result of the Mediation Settlement, the Plan contemplates that, upon               I
 6     the Debtors' emergence from chapter 11, the Debtors will continue to operate as a going
       concern homebuilder primarily in the Las Vegas market. For additional details on the Plan,
 7
       see "Plan Overview" beginning on page 1 of this Disclosure Statement. Additional details
 8     regarding the Mediation Settlement can be found in the section entitled "Settlement
       Overview" beginning on page 2 of this Disclosure Statement.
 9
                  20.        Wil any party have significant influence over the corporate governance
10                           and operations of the Reorganized Debtors?
1 1
                  The Plan contemplates that the First Lien Lenders will be the owners of the
12      Reorganized Debtors. Pursuant to the Plan, a new parent company for the Debtors will be
       formed ("Newco") and each of the First Lien Lenders will receive their pro rata share of
13     1 00% of the equity interests in Newco on account of its First Lien Lender Secured Claim. As
       a result of certain transactions to be undertaken in connection with the Plan, Newco will
14     control the Reorganized Debtors upon their emergence from bankruptcy. The boards of
15     directors of the Reorganized Debtors will consist of one or more members appointed by the
       First Lien Steering Committee. The First Lien Steering Committee will also appoint a chief
16     executive offcer or other similar offcer to manage the Reorganized Debtors. The First Lien
        Steering Committee is in the process of selecting such officers and directors. The identity of
17      such offcers and directors will be publicly disclosed prior to the Confirmation Hearing, which
18      is scheduled to take place on (January $.li), 2010 at 9:00 a.m.

19                21.        Does the First Lien Steering Committee recommend voting in favor of the
                             Plan?
20
                Yes. In the opinion of the First Lien Steering Committee, the Plan is preferable to the
21      alternatives described in this Disclosure Statement because it provides for a larger distribution
22      to the Holders of Claims than would otherwise result in a liquidation under chapter 7 of the
        Bankruptcy Code. In addition, any alternative other than Confirmation could result in
23      extensive delays and increased Administrative Claims, which would result in smaller
        distributions to the Holders of Claims. Accordingly, the First Lien Steering Committee
24      recommends that Holders of Claims entitled to vote on the Plan support Confirmation and
25      vote to accept the Plan.

26 H.             V oting and Confirmation

27             The Classes entitled to vote will have accepted the Plan if (1) the Holders of at least
        two thirds in dollar amount of the Allowed Claims actually voting in each such Class, as
28      applicable, have voted to accept the Plan and (2) the Holders of more than one half in number
        of the Allowed Claims actually voting in each such Class, as applicable, have voted to accept


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      the Plan. Assuming the requisite acceptances are obtained, the First Lien Steering Committee
 2    intends to seek Confirmation of the Plan at the Confirmation Hearing scheduled to commence
      on (January $.li), 2010 at (9:00 a.m.) prevailing Pacific Time, before the Bankruptcy Court.                           I

 3                                       the Bankruptcy Code will be satisfied for purposes of             Confirmation by   i
      Section 1129(a)(10) of


 4    acceptance of        the Plan by at least one Class of                Claims that is Impaired under the Plan.
                                                                                                                             I.
 5           To the extent a Holder of one or more First Lien Lender Claims also holds one or more
      Second Lien Lender Claims, if such Holder votes in favor of the Plan on account of its First
 6    Lien Lender Claim(s), the Holder shall be deemed to vote in favor of the Plan on account of
      its Second Lien Lender Claim(s) regardless of whether the Holder actually votes its Second
 7
      Lien Lender Claim(s) in favor ofthe Plan.
 8
            THE FIRST LIEN STEERING COMMITTEE WILL SEEK CONFIRMATION OF
 9    THE PLAN UNDER SECTION 1129(B) OF THE BANKRUPTCY CODE WITH RESPECT
      TO ANY IMPAIRED CLASSES PRESUMED TO REJECT THE PLAN, AND THE FIRST
10    LIEN STEERING COMMITTEE RESERVES THE RIGHT TO DO SO WITH RESPECT
II    TO ANY OTHER REJECTING CLASS OR TO MODIFY THE PLAN.

12               The Bankruptcy Court has established (November  +624), 2009 (the "Record Date"), as
      the date for determining which Holders of Claims are eligible to vote on the Plan. Ballots,
13    along with this Disclosure Statement, the Plan and the Solicitation Procedures Order, will be
      mailed to all registered Holders of Claims as of the Record Date that are entitled to vote. A
14
      return envelope will be included with Ballots, as appropriate.
15
             The Claims and Solicitation Agent will answer questions regarding the procedures and
16    requirements for voting to accept or reject the Plan and for objecting to the Plan, provide
      additional copies of all materials and oversee the voting tabulation. The Claims and
17    Solicitation Agent will also process and tabulate Ballots for each Class entitled to vote to
18    accept or reject the Plan. The address for the Claims and Solicitation Agent is:

19                                                         Omni Management Group
                                                    Attn: Rhodes Homes Claims Agent
20                                                  16501 Ventura Boulevard, Suite 440
                                                            Encino, CA 91436
21

22               Or if by email to scott~omnimgt.com or by fax to 818-783-2737. If you have any
      questions on voting procedures, please call the Claims and Solicitation Agent at the following
23    toll free number: (818) 906-8300.
24         TO BE COUNTED, BALLOTS (OR MASTER BALLOTS OF THE RESPECTIVE
      NOMINEE HOLDER, IF APPLICABLE) INDICA TING ACCEPTANCE OR REJECTION
25
      OF THE PLAN MUST BE RECEIVED BY THE CLAIMS AND SOLICITATION AGENT
26    NO LATER THAN 4:00 P.M. PREVAILING PACIFIC TIME ON (DECEMBER
      +8JANUARY 4), ~2. (THE "VOTING DEADLINE"). ANY BALLOT RECEIVED
27    AFTER THE VOTING DEADLINE SHALL NOT BE COUNTED.
28         THE FIRST LIEN STEERING COMMITTEE BELIEVES THAT THE PLAN IS IN
      THE BEST INTEREST OF ALL CREDITORS. THE FIRST LIEN STEERING


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       COMMITTEE RECOMMENDS THAT ALL HOLDERS OF CLAIMS AGAINST THE
 2 DEBTORS WHOSE VOTES ARE BEING SOLICITED SUBMIT BALLOTS TO ACCEPT
       THE PLAN.
 3
       i.         Consummation ofthe Plan
 4

 5                It will be a condition to Confirmation of the Plan that all provisions, terms, and
       conditions of the Plan are approved in the Confirmation Order unless otherwise satisfied or
 6     waived pursuant to the provisions of Article X of             the Plan. Following Confirmation, the Plan
       will be consummated on the Effective Date, which wil be no earlier than the eleventh day
 7
       following entry of an order, in form and substance acceptable to the First Lien Steering
 8     Committee, by the Bankruptcy Court confirming the Plan and satisfaction of all conditions to
       Confirmation and the Effective Date having been satisfied or waived in accordance with the
 9     terms of the Plan.
10                                                            Article II.
                                                           BACKGROUND2
11

12 A.             Description of         the Debtors' Business Operations

13                L          Organizational Structure

14           The Debtors' organizational chart is attached hereto as Exhibit B. In addition to the
       Debtor entities below, the Debtors are affiiated with several other companies that are not
15
       Debtors in these Chapter 11 Cases.
16
              Rhodes Ranch GP is the primary holder of land associated with the Rhodes Ranch
17     master-planned community and also owns some commercial properties outside of the Rhodes
       Ranch master-planned community. The Rhodes Ranch master-planned community consists of
18     several developments, including developments built by non-Debtor affiiated developers.
19
       Rhodes Design and Development Corp. holds the Debtors' contractor's license in Nevada
       along with holding some land. Previously, Rhodes Ranch Golf and Country Club was the
20     owner and operator of the golf course and club house in the Rhodes Ranch development, but
       on December 22, 2008, as required by the First Lien Credit Agreement, its assets were sold to
21     non-Debtor Rhodes Ranch Golf, Inc.
22                The Rhodes Companies, LLC is a real estate development holding company.
23
              The following Debtors hold parcels of land associated with the Tuscany development:
24     Rhodes Design and Development; Tuscany Acquisitions, LLC; Tuscany Acquisitions II, LLC;
       Tuscany Acquisitions II, LLC; and Tuscany Acquisitions IV, LLC. Tuscany Golf Country
25     Club, LLC owns and operates the golf club located at the Tuscany development.
26           The following Debtors own land in Arizona: Rhodes Homes Arizona, LLC; Rhodes
27     Arizona Properties, LLC; and Elkhorn Investments~. Rhodes Homes Arizona, LLC also
       holds the Debtors' Arizona contractor's license.
28
       2 Article II is based primarily on representations made by the Debtors.



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       course. It has gated entry and 24-hour security detail (with patrols), an existing 35,000 square
 2     foot community center similar to Rhodes Ranch, and a planned Tuscan-themed retail center.
       As of March 31, 2009, Tuscany had 350 finished lots remaining to be sold and 559 partially
 3
       developed lots. The First Lien Steering Committee estimates the value of Tuscany
 4     Residential Vilage on a going concern basis to be approximately $48.1 million.

 5                Spanish Hils is a high-end development located in southwest Las Vegas. The
       community is built on over 100 acres and features many custom homes in excess of 5,400
 6     square feet of living space. As of March 31, 2009, it had 2 partially developed single family
       estate lots and 2 finished lots remaining to be sold. It also had 10 acres of undeveloped land.
 7
       The First Lien Steering Committee estimates value of the Spanish Hils development on a
 8     going concern basis to be approximately $1 milion.

 9            The Debtors did not operate their developments by legal entity, so for purposes of
       estimating Claims against each of these developments, the Debtors would need to conduct a
10     Claim-by-Claim analysis. In several cases, the Claims fied by Creditors were asserted
       against The Rhodes Companies, LLC, which is the lead Debtor for purposes of                the Chapter 11
11
       Cases, but not necessarily the contracting party with whom the such Creditors may have
12     conducted business. There is, however, approximately $390 million of Secured First Lien
       Lender debt and Second Lien Lender debt fied against each Debtor. For a more complete
13     discussion of       the total Claims asserted against all the Debtors, see Article I.F hereof.
14
              The Debtors' homebuilding operations in Arizona ("Arizona") will be transferred to
15     the Rhodes Entities on the Effective Date pursuant to the Plan. Arizona consists of all of the
       real and personal property of three of the Debtors: Rhodes Homes Arizona Properties, LLC,
16     Rhodes Homes Arizona, LLC, and Elkhorn Investments, Inc. Included within the Arizona
       Assets is Pravada, which is a Rhodes Homes development located in Mohave County (vicinity
17
       of Kingman, Arizona) on approximately 1,312 acres, which has 3,591 partially developed
18     lots. Also included in Arizona, which is located within and around Pravada, are 4 model
       homes, 4 standing inventory homes, and 327 acres of land. The fullA, list of Arizona Assets
19     being transferred to the Rhodes Entities is set forth on Attachment D to the Mediation Term
       Sheet. The Arizona Assets do not include any assets owned by Pinnacle Grading located in
20
       Arizona, except for Pinnacle Grading offce equipment, furniture, computers located in
21     Arizona, which is set forth on Attachment D to the Mediation Term Sheet. The Arizona
       Assets being transferred also do not include intercompany claims. the Stanley Engineering
22     Litigation or any cash owned by any of the foregoing lellal entities.

23                The Debtors own a number of additional lots and commercial-zoned properties in
24     various stages of development in Nevada and Arizona. As of the first quarter of 2009,
       development on all projects except Rhodes Ranch and Tuscany has ceased pending
25     improvement in the real estate market.

26                3.          Principal Debt and Capital Structure
27            The Debtors are party to a Credit Agreement dated as of November 21, 2005 among
28     Heritage Land Company, LLC, The Rhodes Companies, LLC, and Rhodes Ranch General
       Partnership, as the Borrowers, the Lenders Listed Therein as the Lenders, and Credit Suisse,



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       Administrative Claim on behalf of any and all claims asserted against Sagebrush as a result of
 2     Sagebrush being the indemnitor that arose from and after the effectiveness of Sagebrush's
       recission of its indemnity through the Effective Date, provided that the allowance of such
 3
       Administrative Claim shall be subject to resolution by the Bankruptcy Court and/or such other
       court(s) of competent jurisdiction. Sagebrush has not asserted any Administrative Claims
 4
       against the Estates as of the date hereof, and the First Lien Steering Committee believes that
 5     no such Claims wil be made by Sagebrush.
 6            The Reorganized Debtors shall indemnify Sagebrush for any and all claims asserted
       against Sagebrush as a result of Sagebrush being the indemnitor that arise from and after the
 7
       Effective Date. Professional licenses include, but are not limited to the Nevada State
 8     Contractor's Board license, and any other general business or similar licenses in any county,
       state, municipality or other jurisdiction in which the Reorganized Debtors conduct business or
 9     own assets as of the Effective Date. The Rhodes Entities shall use commercially reasonable
       efforts to maintain third party agreements with their real estate brokers and sales agents.
10

11
                  19.        Transfer of Rhodes Ranch Golf Course

12            Under the terms of the First Lien Credit Agreement, certain of the Rhodes Entities
       were required to either sell the Rhodes Ranch Golf Course, or if no seller could be found, to
13     buy the Rhodes Ranch Golf Course from the Debtors for a guaranteed purchase price of $8
       millon. Because the Rhodes Entities could not find a buyer given the state of              the economy in
14
       December 2008, the Rhodes Entities were forced to purchase the Rhodes Ranch Golf Course
15     for $8 million as required under the First Lien Credit Agreement. The purchase price was
       based on an appraisal from an independent third party, which appraised the value of the
16     Rhodes Ranch Golf              Course at approximately $8.0 million. The First Lien Steering Committee
       had been advised that the Rhodes Entities financed $5.9 million of            the purchase price and paid
17
       $2.1 million in cash for the Rhodes Ranch Golf Course. The Rhodes Entities subsequently
18     asserted that $24 millon of the purchase price was financed through a personal loan from
       James Rhodes which loan wil be contributed by James Rhodes to the entity that owns the
19     Rhodes Ranch Golf              Course in connection with the transfer of the equity that owns the Rhodes
       Ranch Golf         Course to the Reorganized Debtors.
20
21            Because the purchase of the Rhodes Ranch Golf Course was based on a fair market
       value appraisal, the Debtors received reasonably equivalent value for the Rhodes Ranch Golf
22     Course such that the transaction could not be avoided as a fraudulent transfer.
23                The Rhodes Ranch Golf Course is the centerpiece of the Debtors' Rhodes Ranch
                                                      the Debtors' estates. Given that there is no
24     development, which is the most valuable asset of

       operating agreement between the Rhodes Entities and the Debtors, the Reorganized Debtors
25     desire to own the Rhodes Ranch Golf Course in order to manage the Rhodes Ranch Golf
       Course to maximize the value of                    the Debtors' assets.
26

27
             After much negotiation, the Rhodes Entities agreed to transfer the Rhodes Ranch Golf
       Course to the Reorganized Debtors upon certain terms and conditions set forth in more detail
28     below.




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                  On the Effective Date, the applicable Rhodes Entities shall transfer their equity
2      interests in the entity that owns the Rhodes Ranch Golf Course to the Reorganized Debtors
       (together with any equipment, golf carts, contracts or other assets determined by the First Lien
 3     Steering Committee to be necessary for the operation of the Rhodes Ranch Golf Course)
4      pursuant to the terms of a stock transfer agreement in form and substance acceptable to the
       First Lien Steering Committee and Rhodes, subject to any outstanding debt on the Rhodes
 5     Ranch Golf Course. The stock transfer agreement shall contain representations by the Rhodes
       Entities that the entity that owns the Rhodes Ranch Golf Course does not have any liabilities
 6     other than ordinary course liabilities related to the Rhodes Ranch Golf Course and
       indemnification provisions in favor of         the Reorganized Debtors by the Rhodes Entities for any
 7
       non-ordinary course liabilities. In addition, prior to the deadline for fiing objections to the
 8     Disclosure Statement, the Rhodes Entities shall provide the First Lien Steering Committee
       with a list of all liabilities of the entity that owns the Rhodes Ranch Golf Course, a lien
 9     analysis and copies of all contracts related to the Rhodes Ranch Golf Course and to which the
10
       entity that owns the Rhodes Ranch Golf Course is a party, each of which must be acceptable
       to the First Lien Steering Committee. Pursuant to the stock and asset transfer a!!reement
11     governing the transfer of   the equity in the entity that owns the Rhodes Ranch Golf Course to
       the Reorganized Dehtors the entity that owns the Rhodes Ranch Golf Course post-Effective
12     Date shall agree to indemnify James Rhodes for any ordinary course liabilty first incurred
       post-Effective Date by such entity under any contract related to the operation of the Rhodes
13
       Ranch Golf  Course for which James Rhodes has provided a personal !luaranty.
14
                  Other than the $5.9 milion third party loan used to originally purchase the Rhodes
15     Ranch Golf Course from the Debtors, the First Lien Steering Committee does not believe that
       there have been any additional obligations placed on the Rhodes Ranch Golf Course other
16
       than ordinary course liabilities. The eKisting though the First Lien Steering Committee has
17     heen advised that James Rhodes may have provided a $2.4 million loan to the entity that owns
       the Rhodes Ranch Golf Course. This $2.4 million loan wil be contrihuted by James Rhodes
18     to the entity that owns the Rhodes Ranch Golf Course and he wil indemnify the Debtors. the
       Reorganized Debtors. Newco and the entity that owns the Rhodes Ranch Golf Course from
19     any liability arising from the contribution of such loan. The existing $5.9 millon third party
20     debt outstanding on the Rhodes Ranch Golf Course shall be refinanced on or before the
       Effective Date, for a period of no less than twelve (12) months from the Effective Date, on
21     terms and conditions acceptable to Rhodes and the First Lien Steering Committee. The
       parties will work together in good faith to refinance the existing third party debt and have
22     been actively working since August on the refinancing and are talking to multiple lending
23     sources. The First Lien Steering Committee believes that the refinancing will be
       accomplished prior to the Effective Date and, indeed, one of the conditions precedent to the
24     occurrence of the Effective Date is that the refinancing has occurred. As of the date hereof,
       new financing has not been obtained for the Rhodes Ranch Golf Course. The Rhodes Entities
25     and the First Lien Steering Committee, however, have been engaged in discussions with
26     potential lenders for the Rhodes Ranch Golf Course and are optimistic that favorable
       financing will be obtained. The potential terms of such financing have not been provided in
27     this Disclosure Statement to ensure that potential lenders do not obtain an unfair negotiating
       advantage with respect to such terms. Upon obtaining a final commitment for refinancing for
28




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      the Rhodes Ranch Golf Course, the First Lien Steering Committee will disclose such terms in
 2 a filing with the Bankruptcy Court.

 3            The Reorganized Debtors shall pay the reasonable costs and expenses associated with
      the refinancing; provided, that the terms of such refinancing are acceptable to the First Lien
 4
      Steering Committee. The First Lien Steering Committee acknowledges that the loan
 5    documentation may provide that, upon the transfer of the Rhodes Ranch Golf Course to the
      Reorganized Debtors on the Effective Date, additional collateral from the Reorganized                 I
 6    Debtors may be required. The Rhodes Entities shall transfer to the Reorganized Debtors on             i


      the Effective Debt any contracts related to the operation of and revenue generated by any cell        I
 7
      towers located on the property of the Rhodes Ranch Golf Course. Any funds received after              I

 8    July 31,2009 from the Las Vegas Valley Water District or other similar entity as an incentive
      for converting the golf course from a green course to a desert course shall be used for
 9    operating expenses associated with the Rhodes Ranch Golf Course, with any excess to
      become property of the Reorganized Debtors on the Effective Date.
10

11
                 The golf course is beneficial to the preservation of the Reorganized Debtors' Rhodes
      Ranch assets and, as part of the Mediation Settlement, the Reorganized Debtors will obtain
12    title to the Rhodes Ranch Golf Course (through the assumption of       the third party debt on such
      course not to exceed $5.9 million).
13
              Rhodes and/or his designee shall have the absolute right to repurchase the Rhodes
14
       Ranch Golf Course from the Reorganized Debtors at eight (8) years from the Effective Date
15     for $5.9 milion in cash. The Reorganized Debtors may require Rhodes to purchase the
       Rhodes Ranch Golf Course any time between four (4) and eight (8) years from the Effective
16     Date for $5.9 millon in cash provided that the Reorganized Debtors shall provide Rhodes
      with at least one year advance notice of its intent to sell the Rhodes Ranch Golf Course back
17
      to Rhodes. Such transfer shall occur on the applicable anniversary date of the Effective Date.
18    For the avoidance of doubt, if the Reorganized Debtors put the Rhodes Ranch Golf Course to
      Rhodes in accordance with the terms hereof and Rhodes fails to comply with his obligation to
19    purchase the Rhodes Ranch Golf Course, Rhodes shall be deemed to have forfeited his option
      to purchase the Rhodes Ranch Golf Course.
20
21             On the Effective Date, Rhodes's obligations to comply with the repurchase shall be
       secured by either (i) $500,000 in cash in an escrow account or (ii) property worth at least $2
22     million (the "Golf Course Security Property"), with the value of such property to be agreed to
       by Rhodes and the First Lien Steering Committee or otherwise valued by an independent
23     third party appraisal firm acceptable to both Rhodes and the First Lien Steering Committee
24     (except Cushman Wakefield). In the event that Rhodes does not meet the repurchase request,
       provided that the Rhodes Ranch Golf Course is in the standard condition (defined below),
25     then the Reorganized Debtors shall be entitled to liquidated damages in the form of security
       pledged (i.e., the $500,000 or the Golf Course Security Property).
26
             So long as Rhodes has not defaulted on his obligation to repurchase the Rhodes Ranch
27
       Golf Course, Rhodes shall have the absolute and sole discretion to replace the Golf Course
28     Security Property with $500,000 in cash on 30 days written notice to the Reorganized
       Debtors. Upon deposit of the $500,000 in cash, the Golf Course Security Property shall be


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      released to Rhodes or his designee. Notwithstanding anything to the contrary contained
 2    herein, if the Rhodes Ranch Golf Course is not maintained with substantially the same
      performance and rating criteria at the time of the repurchase request as verified by an
 3    independent third party rating agency as it was on the Effective Date ("Standard Condition"),
 4    James Rhodes can (i) require the Reorganized Debtors to cure any conditions to return the
      Rhodes Ranch Golf Course to its Standard Condition (provided, that the cost of such cure
 5    does not exceed $500,000), or (ii) choose not to purchase the Rhodes Ranch Golf Course.
      Upon either the repurchase of the Rhodes Ranch Golf Course or the written decision to not
 6    repurchase the Rhodes Ranch Golf Course (in accordance with the preceding sentence), the
 7    Golf Course Security Property or the $500,000 Cash (if not applied to the repurchase of the
      Rhodes Ranch Golf  Course) shall be returned to Rhodes within 30 days.
 8
                 On the Effective Date, the Reorganized Debtors shall record a memorandum of
 9 agreement against the Rhodes Ranch Golf Course to evidence the above.

10               20.        Cash Payment
11
                 The Rhodes Entities shall make a cash payment to the Reorganized Debtors of $3.5
12    milion in Cash on the Effective Date. The $3.5 milion cash payment shall be used to fund                I .
      distributions under the Plan and provide working capital to the extent of any excess.
13
                 21. Transfer of Arizona Assets
14
                 On the Effective Date, pursuant to tfa stock and asset transfer agreement a draft of
15
      which is attached hereto as Exhibit M, the Debtors shall transfer Pravada and the other
16    Arizona Assets set forth on Attachment D to the Mediation Term Sheet, plus the Golden
      Valley Ranch tradename to the Rhodes Entities free and clear of all liens, claims and
17    encumbrances pursuant to section 363(f) of          the Bankruptcy Code; provided, that the non-First
      Lien Lender/Second Lien Lender liens do not exceed $60,000; provided, further, that such
18
      assets shall not include assets owned by Pinnacle Grading located in Arizona and related
19    contracts associated with the assets. All Claims asserted against the Arizona Assets shall
      be deemed asserted against the Estates and shall be classified in accordance with Article
20    III of the Plan for distribution purposes. The Arizona Assets shall be transferred through
      the Rhodes Entities' acquisition of the stock of Rhodes Arizona Properties LLC and Elkhorn
21
      Investments. Inc. and certain assets of Rhodes Homes Arizona LLC. Any non-real property
22    assets or assets not listed on Attachment D to the Mediation Term Sheet that are titled in
      Rhodes Arizona Properties LLC or Elkhorn Investments. Inc. shall be transferred to Newco
23    pursuant to the stock and asset transfer agreement. To the extent any real property assets
      located in Arizona are titled in any Debtor other than Rhodes Arizona Properties LLC.
24
      Elkhorn Investments. Inc. or Rhodes Homes Arizona. such real property assets shall be
25    transferred to the Rhodes Entities pursuant to the stock and asset transfer agreement. All
      intercompany claims assertable by Rhodes Arizona Properties LLC or Elkhorn Investments.
26    Inc. against any other Debtor shall be deemed cancelled.
27            The Debtors shall provide James Rhodes notice of any proposed sale of the Pinnacle
28    assets, and James Rhodes shall be granted a right to bid on the sale of such assets within 10
      days of such notice. The Rhodes Entities shall permit storage of Pinnacle Grading equipment



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                           b. Claims Payable by Insurance
 2
           Holders of Insured Claims that are covered by the Debtors' insurance policies shall
 3   seek payment of such Claims from applicable insurance policies, provided that the
     Reorganized Debtors shall have no obligation to pay any amounts in respect of pre-petition
 4
     deductibles or self insured retention amounts. Allowed Insured Claim amounts in excess of                   I
                                                                                                                 i

 5   available insurance shall be treated as General Unsecured Claims. No distributions under the
     Plan shall be made on account of an Allowed Claim that is payable pursuant to one of the
 6   Debtors' insurance policies until the Holder of such Allowed Claim has exhausted all
     remedies with respect to such insurance policy. To the extent that one or more of            the Debtors'
 7
     insurers agrees to satisfy in full a Claim (if and to the extent adjudicated by a court of
 8   competent jurisdiction), then immediately upon such insurers' agreement, such Claim may be
     expunged to the extent of any agreed upon satisfaction on the Claims Register by the Claims
 9   and Solicitation Agent without a Claims objection having to be Filed and without any further
     notice to or action, order, or approval of the Bankruptcy Court.
10

11
                           c.          Applicability of         Insurance Policies

12          Distributions to Holders of Allowed Claims shall be in accordance with the provisions
     of any applicable insurance policy. Except for Claims and Causes of Action released under
13   the Plan to the Released Parties and Exculpated Parties, nothing contained in the Plan shall
     constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity may
14
     hold against any other Entity, including insurers under any policies of insurance, nor shall
15   anything contained herein constitute or be deemed a waiver by such insurers of any defenses,
     including coverage defenses, held by such insurers.
16
                6.         Payment of$1.5 Millon to First Lien Lenders
17
            The $1,500,000 in Cash payable to the Holders of First Lien Lender Secured Claims
18
     from the proceeds of their Collateral pursuant to Article II.B.L. shall be paid as follows: (i)             I


19   $400,000 on the Effective Date and (ii) the remaining up to $1,100,000 in five quarterly
     installments of $220,000 beginning on the first day of the fourth month following the                           I

20   Effective Date; provided, that the Reorganized Debtors shall have the right to defer up to two                  i
     quarterly payments, with such deferred amount(s) to be paid on the next quarterly payment
21
     date (and the amount scheduled to be paid on such quarterly payment date deferred for
22   another quarter; provided that the full $1.5 milion payment shall be made to the Holders of
     First Lien Lender Secured Claims within eighteen months of the Effective Date).
23   Notwithstanding the foregoing, in the event that, as of the Effective Date, the debt on the
     Rhodes Ranch Golf Course has been refinanced on terms and conditions acceptable to the
24
     First Lien Steering Committee and the Reorganized Debtors have unrestricted cash of at least
25   $3.5 million (after taking into account any amounts required to be paid to reduce the amount
     of third party debt on the Rhodes Ranch Golf Course below $5.9 milion and without taking
26   into consideration amounts that may have been borrowed under any exit facilty unless such
     amounts were used to pay-down debt on the Rhodes Ranch Golf Course, in which case any
27
     amounts used to pay-down debt on the Rhodes Ranch Golf Course wil be deemed to reduce
28   unrestricted cash on a dollar for dollar basis), then the initial $400,000 payment to the First
     Lien Lenders will be increased as follows: (i) if unrestricted cash (as calculated above) is


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                                        Executory Contracts and Unexpired Leases shall be in form and
 2                                      substance acceptable to the Plan Proponent.

 3               2.         Conditions Precedent to the Effective Date
 4
                 The following are conditions precedent to Consummation that must be satisfied or
      waived in accordance with Article X.C of                         the Plan:
 5

 6                          A.          The Bankruptcy Court shall have authorized the assumption and
                                        rejection of executory contracts and unexpired leases by the Debtors as
 7                                      contemplated by Article V of               the Plan.

 8
                            B.          All of the schedules, documents, and exhibits ancilary to the Plan and
 9                                      Disclosure Statement including, but not limited to, (i) the Claim
                                        Purchase Schedule, (ii) the Litigation Trust Agreement, (iii) the Newco
10                                      LLC Operating Agreement, (iv) the New First Lien Notes credit
                                        agreement, (v) the Schedule of Causes of Action, (vi) the Asset and
i 1
                                        Stock Transfer Agreement, and (vii) the Schedule of Assumed
12                                      Executory Contracts and Unexpired Leases shall be in form and
                                        substance acceptable to the Plan Proponent.
13
                            c.          The Confirmation Order shall have become a Final Order in form and
14                                      substance acceptable to the Plan Proponent.
15
                             D.         The documents governing the New First Lien Notes and the Newco
16                                      LLC Operating Agreement shall be in form and substance acceptable to
                                        the Plan Proponent.
17
                             E. The Confirmation Date shall have occurred.
18
                             F.         The First Lien Steering Committee shall have designated and replaced
19
                                        each existing Qualified Employee of the Debtors with a new Qualified
20                                      Employee for the Reorganized Debtors.

21                           G.         The third party debt outstanding on the Rhodes Ranch Golf Course
                                        shall be refinanced on terms and conditions acceptable to Rhodes and
22                                      the First Lien Steering Committee and the personal loan of James
                                        Rhodes to the entity that owns the Rhodes Ranch Golf Course shall
23
                                        have been contributed as equity without any new equity beinll issued to
24                                      James Rhodes and James Rhodes shall have provided the Debtors. the
                                        Reorganized Debtors Newco and the entity that owns the Rhodes
25                                      Ranch Golf Course an indemnity for any liability arising from the
                                        contribution of such loan.
26

27                           H.         Copies of all Debtors' books and records shall have been delivered to
                                        the Rhodes Entities at no cost to the Rhodes Entities.
28




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     agreement executed pursuant to the Plan, shall be deemed null and void; and (3) nothing
 2   contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests; (b)
                                       the Plan Proponent or any other Entity; or (c) constitute
     prejudice in any manner the rights of
 3
     an admission, acknowledgement, offer, or undertaking of any sort by the Plan Proponent or
 4   any other Entity.

 5 N.           Retention of Jurisdiction

 6              Notwithstanding the entry of the Confirmation Order and the occurrence of the
     Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters
 7
     arising out of, or related to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and
 8   1142 of  the Bankruptcy Code and as otherwise set forth in the Plan.

 9                                    Article V.
                 STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN
10
                The following is a brief summary of the Plan Confirmation process. Holders of
11
     Claims and Interests are encouraged to review the relevant provisions of the Bankruptcy Code
12   and to consult their own attorneys.

13 A.           The Confirmation Hearing

14              Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice,
     to hold a hearing on Confirmation (the "Confirmation Hearing"). Section 1128(b) of the
15
     Bankruptcy Code provides that any party in interest may object to Confirmation.
16
                THE BANKRUPTCY COURT HAS SCHEDULED THE CONFIRMATION
17   HEARING TO COMMENCE ON (JANUARY $.14),2010 AT (9:00 aA.mM.) PREVAILING
     PACIFIC TIME BEFORE THE HONORABLE LINDA B. RIEGLE, UNITED STATES
18   BANKRUPTCY JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR THE
19
     DISTRICT OF NEVADA, IN COURTROOM 1 IN THE FOLEY FEDERAL BUILDING
     LOCATED AT 300 LAS VEGAS BOULEVARD SOUTH, LAS VEGAS, NEVADA 89101.
20   THE CONFIRMATION HEARING MAYBE ADJOURNED FROM TIME TO TIME BY
     THE BANKRUPTCY COURT WITHOUT FURTHER NOTICE EXCEPT FOR AN
21   ANNOUNCEMENT OF THE ADJOURNED DATE MADE AT THE CONFIRMATION
     HEARING OR ANY ADJOURNMENT THEREOF.
22

23              OBJECTIONS TO CONFIRMATION OF THE PLAN MUST BE FILED AND
     SERVED ON OR BEFORE (DECEMBER 18JANlJARY 4), ~2!IN ACCORDANCE
24   WITH THE SOLICITATION PROCEDURES ORDER FILED AND SERVED ON
     HOLDERS OF CLAIMS AND INTERESTS AND OTHER PARTIES IN INTEREST.
25   UNLESS OBJECTIONS TO CONFIRMATION ARE TIMELY SERVED AND FILED IN
26   COMPLIANCE WITH THE SOLICITATION PROCEDURES ORDER, THEY MAY NOT
     BE CONSIDERED BY THE BANKRUPTCY COURT.
27
28




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     excluded from gross income pursuant to section 108 of the IRC. In general, tax attributes will
 2   be reduced in the following order: (a) net operating losses ("NOLs"); (b) most tax credits and
     capital loss carryovers; ( c) tax basis in assets; and (d) foreign tax credits. A member with
 3
     COD income may elect first to reduce the basis of its depreciable assets pursuant to section
 4   1 08(b )(5) of the IRC. Nonetheless, any attribute reduction wil be applied as of the first day
     following the taxable year in which a member recognizes COD income. If a member has a
 5   suspended loss with respect to its membership interest in Heritage Land Company LLC, the
     allocation of COD income may allow some or all of such suspended losses to be used to offset
 6   the COD income.
 7
              A recently enacted amendment to the COD income rules provides that taxpayers that
 8   recognize COD income in 2009 or 2010 may elect to forgo the COD income exclusion and
     attribute reduction rules described above. Instead, the taxpayer may elect to take into taxable
 9   income the COD income with respect to such debt in equal installments in 2014 through 2018
10   (i.e., the taxpayer would report 20% of the COD income in each such year). This election to
     defer COD income is made separately with respect to each debt instrument on which COD
11   income is realized, must be made on the taxpayer's tax return for the year that includes the
     transaction that creates the COD income, and, in the case of debt of a partnership, is made at
12   the partnership level, but recent IRS guidance allows taxpayers to make partial elections and
     permits partnerships to choose which partners defer which amount, if any. The guidance also
13
     provides that a taxpayer is not required to make an election for the same COD income portion
14   arising from each reacquired applicable debt instrument, though he or she may make an
     election for different portions of such income arising from different applicable debt
15   instruments. The Debtors have not yet determined whether such an election will be made
     with respect to the COD income generated in connection with the consummation of               the Plan.
16
                4.         Recent Tax Amendments
17

18           The law governing net operating loss ("NOL") carrybacks was amended November 6,
     2009. It permits taxpayers to elect to carry back either their 2008 or 2009 operating losses for
19   3, 4 or even 5 years, rather than the normal 2 years. Losses may be carried back 3 or 4 years
     to offset all income generated in those years. Losses carried back the 5th year can only offset
20
     half of the income in that year. In addition, this law suspends the application of the normal

21   year that NOLs can only offset 90% of alternative minimum taxable income for losses for the
     carrbacks covered by this provision. Taxpayers may file an irrevocable election to carry
22   back 2008 or 2009 losses (but not both 2008 and 2009 losses) for this extended period at any
     time up to the due date of              their 2009 returns (including extensions). The Rhodes Entities may
23   realize additional tax benefits as a result of           the foregoing amendment
24
                In the case of a partnership (or LLC treated as a partnership for tax purposes), these
25   rules apply at the partner level, with the partner including its allocable share of the entity's
     losses. In the case of an S corporation, similar rules apply, albeit with different limitations on
26   the ability to use such losses due to different basis rules. Since the Debtors' businesses were
27   not carried on by a corporation, but were carried on through pass-through entities (i.e.,
     partnerships, LLCs taxable as partnerships, an S corporation, and LLCs disregarded for tax
28   purposes), this legislation wil not result in any recoveries to the Debtors from carrying back
     NOLs the additional three years.


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                                              Article ix.
 2                                         CONCLUSION
 3          The First Lien Steering Committee believes that the Plan is in the best interests of
     Creditors and urges such parties to vote to accept the Plan.
 4

 5
     Dated: November ~ll2009                     THE FIRST LIEN STEERING COMMITTEE
 6

 7                                                By: Its Counsel
 8

 9

10                                      By: /s/ Philip C. Dublin
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